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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                    SOUTHERN DIVISION at PIKEVILLE

DONAVEON DONTREL LIGHTBOURN,           )
                                       )
      Petitioner,                      )              Civil No.
                                       )           7:20-cv-31-JMH
V.                                     )
                                       )
WARDEN, USP-BIG SANDY,                 )                 JUDGMENT
                                       )
      Respondent.                      )

                       ****     ****       ****   ****

     Consistent with the Memorandum Opinion and Order entered this

date, the Court ORDERS and ADJUDGES as follows:

     (1)   The Court ENTERS Judgment in favor of the Respondent,

Warden of the United States Penitentiary – Big Sandy; and

     (2)   This is a FINAL and APPEALABLE Judgment and there is no

just cause for delay.

     This the 2nd day of November, 2020.
